Case 2:14-cv-11700-PDB-SDD ECF No. 313, PageID.14259 Filed 11/27/17 Page 1 of 6




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 STATE FARM MUTUAL AUTOMOBILE
 INSURANCE COMPANY,

                   Plaintiff,                   Case No. 14-cv-11700

                                                Paul D. Borman
 v.                                             United States District Judge

                                                Stephanie Dawkins Davis
                                                United States Magistrate Judge
 POINTE PHYSICAL THERAPY, LLC,
 et al.,

                Defendants.
 _______________________________________/

                        OPINION AND ORDER:
   (1) OVERRULING NON-PARTY MCM SOLUTIONS, INC.’S OBJECTION
    (ECF NO. 299) TO MAGISTRATE JUDGE DAVIS’S NOVEMBER 3, 2017
  OPINION AND ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL;
 (2) AFFIRMING MAGISTRATE JUDGE DAVIS’S ORDER (ECF NO. 295); and
    (3) ORDERING MCM TO FULLY COMPLY WITH THE TERMS OF THE
   SUBPOENA WITHIN FOURTEEN DAYS OF THE DATE OF THIS ORDER
              OR FACE SANCTIONS FOR NON-COMPLIANCE

       On November 3, 2017, Magistrate Judge Davis issued an Opinion and Order

 (ECF No. 295) granting Plaintiff State Farm Mutual Automobile Insurance

 Company’s (“State Farm”) motion to compel non-party MCM Solutions, Inc.

 (“MCM”) to comply with a third party subpoena for documents served on MCM by



                                      1
Case 2:14-cv-11700-PDB-SDD ECF No. 313, PageID.14260 Filed 11/27/17 Page 2 of 6




 State Farm on July 20, 2017. On November 13, 2017, MCM filed an Objection to the

 Magistrate Judge’s November 3, 2017 Opinion and Order, which is presently before

 the Court. (ECF No. 299, Objection.) For the reasons that follow, the Court

 OVERRULES MCM’s Objection, AFFIRMS the Magistrate Judge’s November 3,

 2017 Opinion and Order, and ORDERS MCM to comply fully with the terms of the

 subpoena within fourteen (14) days of the date of this Order or face sanctions for

 noncompliance.

 II.   STANDARD OF REVIEW

       28 U.S.C. § 636(b)(1)(A) and Federal Rule of Civil Procedure 72(a) both

 provide that a district judge must modify or set aside any portion of a magistrate

 judge’s non-dispositive pretrial order found to be “clearly erroneous or contrary to

 law.” 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P. 72(a). The United States Supreme

 Court and the Sixth Circuit Court of Appeals have stated that “a finding is ‘clearly

 erroneous’ when although there is evidence to support it, the reviewing court on the

 entire evidence is left with the definite and firm conviction that a mistake has been

 committed.” United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948) (explaining

 the clearly erroneous standard under Rule 52(a)); Hagaman v. Comm'r of Internal

 Revenue, 958 F.2d 684, 690 (6th Cir. 1992) (quoting U.S. Gypsum Co.). See also

 United States v. Mandycz, 200 F.R.D. 353, 356 (E.D. Mich. 2001) (explaining the


                                          2
Case 2:14-cv-11700-PDB-SDD ECF No. 313, PageID.14261 Filed 11/27/17 Page 3 of 6




 standard under Rule 72(a)).

       This standard does not empower a reviewing court to reverse the Magistrate

 Judge’s finding because it would have decided the matter differently. Anderson v.

 City of Bessemer City, N.C., 470 U.S. 564, 573 (1985) (interpreting the clearly

 erroneous standard in Rule 52(a)). The Sixth Circuit has noted that: “[t]he question

 is not whether the finding is the best or only conclusion that can be drawn from the

 evidence, or whether it is the one which the reviewing court would draw. Rather, the

 test is whether there is evidence in the record to support the lower court’s finding, and

 whether its construction of that evidence is a reasonable one.” Heights Cmty. Cong.

 v. Hilltop Realty, Inc., 774 F.2d 135, 140 (6th Cir. 1985).

       “The ‘clearly erroneous’ standard applies only to the magistrate judge’s factual

 findings; his legal conclusions are reviewed under the plenary ‘contrary to law’

 standard. . . . Therefore, [the reviewing court] must exercise independent judgment

 with respect to the magistrate judge’s conclusions of law.” Haworth, Inc. v. Herman

 Miller, Inc., 162 F.R.D. 289, 291 (W.D. Mich.1995) (citing Gandee v. Glaser, 785 F.

 Supp. 684, 686 (S.D. Ohio 1992)). “‘An order is contrary to law when it fails to apply

 or misapplies relevant statutes, case law, or rules of procedure.’” Mattox v. Edelman,

 No. 12-13762, 2014 WL 4829583, at *2 (E.D. Mich. Sept. 29, 2014) (quoting Ford

 Motor Co. v. United States, No. 08–12960, 2009 WL 2922875, at *1 (E.D. Mich.


                                            3
Case 2:14-cv-11700-PDB-SDD ECF No. 313, PageID.14262 Filed 11/27/17 Page 4 of 6




 Sept. 9, 2009)).

 III.   ANALYSIS

        State Farm alleges that the “undisputed evidence” produced in this case

 suggests that Defendant Amale Bazzi secretly owns and/or controls MCM (allegedly

 owned “on paper” by Bazzi’s son-in-law Youssef Bakri) and has utilized MCM, and

 other third-party entities, to conceal her role in the fraudulent scheme at the heart of

 State Farm’s Complaint. State Farm now seeks documents from non-party MCM,

 including communications and other business records of MCM, to enable State Farm

 to establish MCM’s role in the alleged fraudulent scheme.

        The Magistrate Judge, after hearing oral argument on State Farm’s motion,

 correctly concluded that MCM’s corporate records sought in State Farm’s subpoena

 are not protected by Fifth Amendment privilege. MCM, a corporate entity, “may not

 . . . disregard [its] choice to incorporate, claim Fifth Amendment protection, and shield

 [its] business records from production.” In re Grand Jury Subpoena (John Doe, Inc.),

 991 F. Supp. 2d 968, 976 (E.D. Mich. 2014). MCM’s speculation that there may at

 some time be a criminal investigation involving Mr. Bakri, MCM’s “incorporator,”

 (Objection at 4, PgID 12694), does nothing to alter the correctness of this conclusion.

 MCM has no valid claim of Fifth Amendment privilege and must produce the

 requested documents.


                                            4
Case 2:14-cv-11700-PDB-SDD ECF No. 313, PageID.14263 Filed 11/27/17 Page 5 of 6




        As the Magistrate Judge noted, State Farm has explained in great detail the

 relevance of the subpoenaed documents to the fraudulent scheme alleged in the

 Complaint and MCM’s role in the alleged scheme. The Magistrate Judge correctly

 observed that “[d]ocuments regarding the ownership of MCM and its employees will

 establish who actually owns MCM and purportedly works there, which is critical to

 unraveling the relationships between Defendants and third parties involved in the

 scheme.” (ECF No. 295, Order at 6, PgID 12145.) The Magistrate Judge adequately

 supported her finding of proportionality and MCM fails to proffer any argument to

 establish undue burden related to complying with the subpoena.

 III.   CONCLUSION

        The Court concludes that Magistrate Judge Davis’s November 3, 2017 Order

 is neither factually erroneous nor contrary to law.        Accordingly, the Court

 OVERRULES MCM’s Objection, AFFIRMS the Magistrate Judge’s November 3,

 2017 Order, and ORDERS MCM to fully comply with State Farm’s subpoena within

 fourteen (14) days of the date of this Order or face sanctions for noncompliance.

 IT IS SO ORDERED.

                                                    s/Paul D. Borman
                                                    Paul D. Borman
                                                    United States District Judge

 Dated: November 27, 2017


                                          5
Case 2:14-cv-11700-PDB-SDD ECF No. 313, PageID.14264 Filed 11/27/17 Page 6 of 6




                                  CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the foregoing order was served upon each
 attorney or party of record herein by electronic means or first class U.S. mail on November 27,
 2017.

                                              s/Deborah Tofil
                                              Case Manager




                                                 6
